This is an action by the city of Douglas, hereinafter called plaintiff, against Dan S. Kitchel, as county treasurer, and county of Cochise, a municipal corporation, hereinafter called defendants, to recover certain moneys which it is alleged defendant Kitchel, in his capacity as treasurer of Cochise county, holds in trust for plaintiff. The essential facts and the legal questions raised by the appeal in this case are so similar to those in the case *Page 247 
of City of Bisbee v. Cochise County et al., ante, p. 233,36 P.2d 559, just decided, that we think it unnecessary to state them. For the reasons set forth in the case just cited, the judgment of the superior court of Cochise county is affirmed as to the county of Cochise and reversed as to Dan S. Kitchel, as county treasurer, and remanded with instructions to overrule the demurrer to the complaint so far as he is concerned, and for such further proceedings as may be proper.
ROSS, C.J., and McALISTER, J., concur.